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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


 KATHY GUINN,                            :
                                         :
                                         :
       Plaintiff,                        :
                                         :
 v.                                      :         CIVIL ACTION NO.
                                         :         1:18-CV-3119-AT
 NORFOLK SOUTHERN RAILWAY                :
 COMPANY,                                :
                                         :
       Defendant.                        :


                                     ORDER

      This matter is before the Court on Defendant Norfolk Southern Railway

Company’s Motion for Partial Summary Judgment [Doc 70]. Norfolk Southern

also filed Motions to Limit or Exclude the Testimony of Experts Eckardt

Johanning, M.D., Msc, Ph.D. [Doc. 66], Steven Filbert [Doc. 67], Terry Cordray

[Doc. 68], and Colon Fulk [Doc. 69]. For the reasons that follow, The Motion for

Summary Judgment is GRANTED IN PART and DENIED IN PART, and the

Court will direct the parties to attend mediation of the remaining claims.

I.    STANDARD FOR SUMMARY JUDGMENT

      Summary judgment may only be granted when “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to summary judgment as a matter of law.” FED. R. CIV. P. 56(c).
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The “purpose of summary judgment is to pierce the pleadings and to assess the

proof in order to see whether there is a genuine need for trial.” Matsushita Elec.

Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting the

Advisory Committee’s note to FED. R. CIV. P. 56). “[The] party seeking summary

judgment always bears the initial responsibility of informing the district court of

the basis for its motion, and identifying those portions of the [record before the

court] which it believes demonstrate the absence of a genuine issue of material

fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden then shifts to

the non-movant to establish, by going beyond the pleadings, that there is indeed a

genuine issue as to the material facts its case. Thompson v. Metro. Multi–List,

Inc., 934 F.2d 1566, 1583 n.16 (11th Cir. 1991); Chanel, Inc. v. Italian Activewear

of Fla., Inc., 931 F.2d 1472, 1477 (11th Cir. 1991). A dispute of material fact “is

‘genuine’ . . . [only] if the evidence is such that a reasonable jury could return a

verdict for the non-moving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986); see also Matsushita, 475 U.S. at 587.

      When ruling on the motion, the Court must view all the evidence in the

record in the light most favorable to the non-moving party and resolve all factual

disputes in the non-moving party’s favor. Welch v. Celotex Corp., 951 F.2d 1235,

1237 (11th Cir. 1992); Ryder Int’l Corp. v. First Am. Nat’l Bank, 943 F.2d 1521,

1523 (11th Cir. 1991). The Court must avoid weighing conflicting evidence. Liberty

Lobby, 477 U.S. at 255; McKenzie v. Davenport–Harris Funeral Home, 834 F.2d

930, 934 (11th Cir. 1987). Nevertheless, the non-moving party’s response to the

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motion for summary judgment must consist of more than conclusory allegations,

and a mere “scintilla” of evidence will not suffice. Walker v. Darby, 911 F.2d 1573,

1577 (11th Cir. 1990); Pepper v. Coates, 887 F.2d 1493, 1498 (11th Cir. 1989). But

where a reasonable fact finder may “draw more than one inference from the facts,

and that inference creates a genuine issue of material fact, then the court should

refuse to grant summary judgment.” Barfield v. Brierton, 883 F.2d 923, 933–34

(11th Cir. 1989) (citation omitted).

       The essential question is “whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one

party must prevail as a matter of law.” Anderson, 477 U.S. at 251–52.

II.    FACTUAL BACKGROUND1

       On July 8, 2015, Ms. Guinn was injured when she fell from a train car while

working as a conductor trainee at Norfolk Southern’s training facility in

McDonough, Georgia. (Def.’s Statement of Material Facts for Which There is No

Genuine Issue to Be Tried (“SUMF”) ¶ 1, 13, Doc. 70-10; Pl.’s Resp. to Pl.’s

Statement of Material Facts For Which There Is No Genuine Issue To Be Tried

(“RSUMF”) ¶ 1, 13, Doc. 82; Pl.’s Additional Statement of Facts Which Are Material


1 Keeping in mind that when deciding a motion for summary judgment, the Court must view the
evidence and all factual inferences in the light most favorable to the party opposing the motion,
the Court provides the following statement of facts. See Optimum Techs., Inc. v. Henkel
Consumer Adhesives, Inc., 496 F.3d 1231, 1241 (11th Cir. 2007) (observing that, in connection
with summary judgment, the court must review all facts and inferences in light most favorable to
non-moving party). This statement does not represent actual findings of fact. Priester v. City of
Riviera Beach, 208 F.3d 919, 925 n.3 (11th Cir. 2000) (“We . . . have repeatedly stressed that the
‘facts’, as accepted at the summary judgment stage of the proceedings, may not be the ‘actual’ facts
of the case.”). Instead, the Court has provided the statement simply to place the Court’s legal
analysis in the context of this particular case or controversy.
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and Present a Genuine Issue for Trial (“SAMF”) ¶ 35 (Doc. 82); Def.’s Resp. to

Aditional Statement of Facts Which Are Material and Present a Genuine Issue for

Trial (“RSAMF”) ¶ 35, Doc. 91). Ms. Guinn contends that Norfolk Southern is

responsible for the injuries she sustained based on, among other things, Norfolk

Southern’s negligent training, negligent assignment, and failure to abide by the

Safety Appliance Act. (See generally, Compl. (Doc. 1)).

      A.     Ms. Guinn’s evaluation and training

      Prior to her hire, Norfolk Southern provided the Plaintiff the name and

address of an independent medical clinic with which it contracted at the time to

arrange and attend a physical examination and self-report her medical conditions

or treatment history and social and family history in connection with the physical

examination and drug screening. (Pl.’s SAMF ¶ 31 (Doc. 82); Def.’s RSAMF ¶ 31,

citing Deposition of Kathy Guinn, at 99-108 (Doc. 72)). Ms. Guinn scheduled and

attended this physical examination, where, according to Norfolk Southern, “she

disclosed no potentially disqualifying medical conditions.” (Id.). Following her

physical examination, Ms. Guinn was cleared to participate in conductor training.

(Id.; Dep. Guinn at 123).

      Before participating in field training exercises, Plaintiff passed a “hang test”

which required her to demonstrate the ability to hang on the side of a railcar ladder

with one hand for two minutes and 30 seconds. (Def.’s SUMF ¶ 2, Pl.’s RSUMF ¶

2). Specifically, “[t]he hang test is two sessions of one minute and 15 seconds, one

session for each hand, with a 5-10 second break in between the sessions,” and “the

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trainee’s feet are on the ‘sill step’” (Pl.’s RSUMF ¶ 2, citing Dep. Guinn Ex. 8, Doc.

72 at 534). At her deposition, Ms. Guinn was unsure whether the test was on a

railcar, and was not sure how far off the ground the test was, because the examinees

were “up on a platform.” (Dep. Guinn at 133:1–14).

       In any case, the Parties agree that passing the “hang test” is a prerequisite to

further conductor training. (Def.’s SUMF ¶ 3, Pl.’s RSUMF ¶ 3). Plaintiff testified2

that she had no problem completing the hang test, unlike some of her fellow

trainees. (Id. ¶ 4). Ms. Guinn then successfully completed field training exercises

including throwing switches, hooking and unhooking a knuckle, tying and

releasing a low handbrake, and coupling air hoses. (Id. ¶ 5). Ms. Guinn had no

problem tying and releasing the low handbrake or coupling air hoses. (Id. ¶ 6). She,

like another trainee, had some difficulty hooking and unhooking the knuckle, but

she ultimately completed the task. (Id. ¶ 7).

       B.      Ms. Guinn’s fall

       On the date of the fall, Ms. Guinn’s group of trainees was assigned to perform

a high handbrake exercise on an open top hopper railcar. (Id. ¶ 8). Jonathan Elliott,

her trainer, provided a handwritten, undated statement setting forth his account



2 In Plaintiff’s RSUMF (Doc. 82), Ms. Guinn objects to Norfolk Southern’s formulation of several
of the statements in its SUMF because the statements begin with “[witness] testified [to a fact]”
rather than stating the fact itself. While the Court agrees that this additional witness prism raises
the complexity of a component of the summary judgment process designed to reduce complexity,
the Court does not agree that it rises to the level of a violation of the local Local Rules. LR 56.1,
NDGa. In light of the summary judgment standard’s requirement that the Court construe facts in
the light most favorable to the nonmovant, where there is no prejudice to Plaintiff, the Court will
simply deem the underlying fact admitted unless in dispute. Otherwise, the Court will instead note
who testified to what.
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of what occurred. (Doc. 69-8). The Parties stipulated to a transcription of the

contents of that statement. (Doc. 100). In that statement, Mr. Elliott states that

before starting the exercise, he “demonstrated how to apply and release high

vertical mounted handbrakes.” (Doc. 100).3 Per his statement, Mr. Elliott asked

Ms. Guinn “if she was comfortable and she replied yes.” (Id.). What happened next

is in dispute. Ms. Guinn “testified that she was instructed to mount and climb the

side ladder of the railcar until her feet were resting on the second to highest rung.”

(Pl.’s SAMF ¶ 32; Def.’s RSAMF ¶ 32). However, Norfolk Southern disputes this

account, contending that Mr. Elliott testified that “that he did not instruct the

Plaintiff to keep climbing to the second highest rung, that he would never have let

her climb that high, and that he had never even seen anyone stand on a railcar with

their feet on the second rung from the top.”4 (Def.’s RSAMF ¶ 32, citing Deposition

of Jonathan Elliott, at 104–105 (Doc. 76)).

       According to Ms. Guinn’s account, “she mounted and climbed the side

ladder of the open top hopper railcar until her feet were resting on its second to

highest rung.” (Def.’s SUMF ¶ 9; Pl.’s RSUMF ¶ 9). Ms. Guinn “testified that she

then transitioned from the railcar’s side ladder to its end ladder at that same

height, which is two rungs higher than the level o[f] the brake platform.” (Id. ¶ 10



3In his statement, Mr. Elliott asked “all CTs” if they “need[ed] water, and if so,” encouraged them
to “feel free to get it at any time.” He also, perhaps unhelpfully, “reminded them that they do not
[sic] fall off equipment at any time.” (Doc. 100).

4 Norfolk Southern contends that in any case, the dispute is not material, because Ms. Guinn
descended to the brake platform before falling. However, whether any irregularity in Ms. Guinn’s
attempt contributed to her fall is a question for the jury.
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(alteration in original)). She testified “that she then descended the end ladder until

her right foot was resting on the brake platform.” (Id. ¶ 11). With “her right foot on

the brake platform, she spun the brake wheel to tie and release the handbrake.”

(Id. ¶ 12).

       What happened next is not clear. Ms. Guinn testified that after releasing the

handbreak, she fell to the ground. (Id. ¶ 13). However, per Mr. Elliott’s written

statement and testimony, she first “reached around and planted her foot on the

grab iron,” then “she started to come around” and then “fell off the car.” (Pl.’s

SAMF ¶ 36, Def.’s RSAMF ¶ 36; Statement of Jonathan Elliott (Doc. 100); Dep.

Elliot at 25–26).

       The Parties dispute Ms. Guinn’s condition at the time of the fall. At her

deposition, Plaintiff testified that she was tired and hot at the time, but otherwise

clearheaded:

       4 Q Okay. And at the time that you were attempting
       5 to apply and release the handbrake and come down from
       6 the car, you were feeling physically fine?
       7 A Yes.
       8 Q You weren't fatigued or even dizzy or anything
       9 like that, you were clearheaded?
       10 A I was clearheaded, a little hot.
       11 Q Okay.
       12 A A little tired, which I think everybody else
       13 was also.
       14 Q Okay. But nothing like you were -- you felt
       15 like you were fatigued, exhausted, anything like
       16 that?
       17 A No.
       18 Q And by no, meaning you didn't feel that way?
       19 A No, you mean to collapse, or --
       20 Q Yeah.
       21 A -- couldn't go no further?
       22 Q Right.

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       23 A No.
       24 Q And by no meaning you weren't feeling that way?
       25 A No, I was not feeling that way.

However, statements given by other trainees seem to indicate that “she looked

exhausted and uncomfortable while on the car,” (Dep. Elliot Ex. 3, Stmt. of Michael

Teegarden) and that she appeared “to become very shaky” (Id. Ex 4, Stmt. of David

Arrigo).5

      The following picture of the railcar in question was Exhibit 9 to Ms. Guinn’s

deposition. The Court attaches it for ease of reference, but does not make any

finding of fact as to the veracity of the annotations:6




5Norfolk Southern objects to the admissibility of these statements on hearsay grounds. However,
the Court will consider these statements for the purpose of this motion only as it is likely that “the
statement[s] could be reduced to admissible evidence at trial or reduced to admissible form.”
Jones v. UPS Ground Freight, 683 F.3d 1283, 1293–94 (11th Cir. 2012) (quoting Macuba v.
Deboer, 193 F.3d 1316, 1322 (11th Cir. 1999)).
6The Parties dispute the condition of the fourth rung from the top on the side ladder. The Court
addresses this dispute further in the section on the Safety Appliance Act below.
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       C.     Norfolk Southern’s procedures

       The Parties do not dispute that, as part of its training program submitted to

the Federal Railroad Administration and labor organizations (Def.’s SUMF ¶ 21,

Pl.’s RSUMF ¶ 21),7 “applying and releasing handbrakes” are among the “hands on

skills activities” that are covered during training. (Id. ¶ 24). The Parties do not

dispute that “[m]anually applying and releasing handbrakes are tasks necessary to

be a Norfolk Southern conductor” and (Id. ¶ 26) that Norfolk Southern’s procedure

for manually applying and releasing handbrakes is set forth in its Safety and

General Conduct Rule 1100, which is reproduced below in relevant part:

       1100. Unless an approved telescoping brake stick is used, mount the
       side ladder, climb to the level of the handbrake, and move on same
       level to end ladder. EXCEPTION: See Rule 1074.

       1100(a). Stand with left foot on end ladder rung, right foot on brake
       platform, left hand on end ladder rung or top grabiron. With right
       hand grasping only the outer rim, rotate the brake wheel clockwise
       until slack is taken up, then give short pulls by using the legs until the
       necessary braking force is obtained. When applying final pressure, the
       outer rim should be gripped at the junction of the rim to spoke such
       that the spoke is on the side of the hand in the direction of pull to
       prevent hand slippage. To release a handbrake, assume the same
       position and operate the brake wheel or release lever.

       1100(b). To dismount, reverse the mounting procedure.

(Id. ¶ 29 (emphasis in original)).




7 Ms. Guinn objects to Norfolk Southern’ s statement that the FRA approved its training program
because “whether the conductor certification training program was approved by the FRA because
of the lack of comments is a question of law.” (Def.’s SUMF ¶ 25, Pl.’s RSUMF ¶ 25). However,
Ms. Guinn does not submit any evidence to dispute the underlying factual contention, that the
training program was approved by the FRA. (Id.)
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III.   ANALYSIS

       Norfolk Southern has filed four motions to exclude or limit the testimony of

Ms. Guinn’s proffered experts. Norfolk Southern’s motion for summary judgment

relies in part on excluding the testimony of the witnesses, and as such, the Court

will consider the motions to exclude first.

       A.     Motions to Exclude or Limit the Testimony of Expert
              Witnesses

       Norfolk Southern seeks to exclude or limit the testimony of Ms. Guinn’s

medical expert Eckardt Johanning, M.D., Msc, Ph.D. (Doc. 66), railroad industry

expert Steven Filbert (Doc. 67), vocational expert Terry Cordray (Doc. 68), and

railroad operating practices expert Colon Fulk (Doc. 69). Federal Rule of Evidence

702 governs expert testimony and provides:

       If scientific, technical, or other specialized knowledge will assist the
       trier of fact to understand the evidence or to determine a fact in issue,
       a witness qualified as an expert by knowledge, skill, experience,
       training, or education, may testify thereto in the form of an opinion or
       otherwise, if (1) the testimony is based upon sufficient facts or data,
       (2) the testimony is the product of reliable principles and methods,
       and (3) the witness has applied the principles and methods reliably to
       the facts of the case.

District courts have broad discretion to determine the admissibility of expert

evidence under Federal Rule of Evidence 702. Montgomery v. Aetna Casualty &

Surety Co., 898 F.2d 1537, 1541 (11th Cir. 1990). In Daubert v. Merrell Dow

Pharmaceuticals, Inc., the Supreme Court imposed on the trial courts a special

gatekeeper role of ensuring that proffered expert testimony is both relevant and

reliable before being admitted as evidence. 509 U.S. 579, 589 (1993); Allison v.

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McGhan Med. Corp., 184 F.3d 1300, 1309 (11th Cir. 1999). Accordingly, in

determining the admissibility of expert testimony under Rule 702, the Eleventh

Circuit has provided a rigorous three-part inquiry, instructing the trial courts to

consider whether:

      (1) the expert is qualified to testify competently regarding the matters
      he intends to address; (2) the methodology by which the expert
      reaches his conclusions is sufficiently reliable as determined by the
      sort of inquiry mandated in Daubert; and (3) the testimony assists the
      trier of fact, through the application of scientific, technical, or
      specialized expertise, to understand the evidence or to determine a
      fact in issue.

U.S. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (citing City of Tuscaloosa v.

Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998). The proponent of expert

testimony bears the burden to show that her expert is qualified to testify

competently regarding the matters he intends to address, the methodology by

which the expert reached his conclusions is sufficiently reliable, and the testimony

assists the trier of fact. Frazier, 387 F.3d at 1260 (quoting McCorvey v. Baxter

Healthcare Corp., 298 F.3d 1253, 1257 (11th Cir.2002)). However, the gatekeeping

function of the Court should not preclude expert testimony rooted in professional

experience which the jury can properly weigh and evaluate with the benefit of

effective cross examination by the opposing party. See Adams v. Lab. Corp. of Am.,

760 F.3d 1322, 1334 (11th Cir. 2014) (“We have repeatedly stressed Daubert’s

teaching that the gatekeeping function under Rule 702 ‘is not intended to supplant

the adversary system or the role of the jury: vigorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof

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are the traditional and appropriate means of attacking shaky but admissible

evidence.’”) (quoting United States v. Alabama Power Co., 730 F.3d 1278, 1282

(11th Cir.2013).

              1.      Eckardt Johanning, M.D., Msc, Ph.D. [Doc. 66]

       Norfolk Southern contends that Dr. Johanning has given two opinions in

this case: the first about Ms. Guinn’s medical condition after falling off of the train

car, and the second about her suitability to perform the work of a conductor prior

to the injury. It is this second opinion (Ms. Guinn’s suitability for the job to begin

with) to which Norfolk Southern objects.8 Norfolk Southern contends that the Rule

26(a)(2)(B) report Ms. Guinn’s counsel initially provided it did not contain the

suitability opinion. Instead, the suitability opinion was disclosed in an amended

report provided on the date of Dr. Johanning’s deposition. The suitability opinion

is set forth below:

       It is indeed a question, whether Ms. Guinn, who has a primarily
       sedentary work history, was a [sic] medically and physically fit to
       perform the regular work duties of a conductor job as I know it and




8 At the end of Norfolk Southern’s Brief in Support of Motion to Limit or Exclude Dr. Johanning’s
testimony, Norfolk Southern appears to take an unexpected turn to also challenge Dr. Johanning’s
opinions about Ms. Guinn’s ability to obtain a job going forward on the grounds that such opinions
were not disclosed and are outside of Dr. Johanning’s expertise. (Br. at 12). Norfolk Southern’s
objections are baseless. Dr. Johanning’s original report states that Ms. Guinn has “no residual
capacity for any physical tasks, which do require ambulatory ability . . . [and this] includes driving
of any commercial vehicles, lifting, bending, twisting, squatting, crawling, awkward body
postures, climbing of stairs of ladders,” etc. While Dr. Johanning is not a vocational expert and
cannot opine on jobs that Ms. Guinn could work in the abstract, there is no serious question that
as an occupational physician, he is qualified to answer whether Ms. Guinn is capable of
performing a given occupation when presented with the physical demands of the job.
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      has been described in typical job description (see Appendix) and the
      railroad industry job analysis.”

(Mot. to Exclude Johanning Ex. E.). Norfolk Southern seeks the exclusion of the

suitability opinion for two reasons: “First, it was not disclosed in the report

provided to Norfolk Southern and, therefore, should be excluded under Fed. R. Civ.

P. 37. Second, the new opinion is too equivocal to assist the trier of fact.” (Mot. to

Exclude Johanning Br. at 4).

      Plaintiff’s counsel admits that the “initial version” of the report which did

not contain the suitability opinion was inadvertently provided to Defendant’s

counsel, even though Plaintiff’s counsel was in possession of the “final version” at

the time. However, in response to Norfolk Southern’s argument that the suitability

should be excluded, Ms. Guinn argues that the “final report” may be considered as

a supplemental report under Rule 26(e). Norfolk Southern disputes that “final

report” constitutes a supplemental report under that rule.

      Rule 26(a)(2)(B) requires a retained expert to prepare and sign a report that

contains “a complete statement of all opinions the witness will express and the

basis and reasons for them[.]” A party that fails to provide this information “is not

allowed to use that information or witness to supply evidence on a motion, at a

hearing, or at trial, unless the failure was substantially justified or is harmless.”

Fed. R. Civ. P. 37(c)(1). Rule 26(e) requires that “[a]ny additions or changes to [the

Rule 26(a)(2)(B) report]. . . must be disclosed by the time the party’s pretrial

disclosures” are due. Fed. R. Civ. P. 26(e).



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      The Court need not determine whether the “final report” constitutes a

supplemental rule under Rule 26(e), or whether Ms. Guinn’s accidental failure to

provide the final report was harmless, because the Court agrees that Dr.

Johanning’s suitability opinion is “equivocal,” and therefore “does not assist the

trier of fact.” Cf. Bowers v. Norfolk S. Corp., 537 F. Supp. 2d 1343, 1368 (M.D. Ga.

2007), aff’d, 300 F. App’x 700 (11th Cir. 2008).

      Norfolk Southern argues that Dr. Johanning, by elucidating that “[i]t is

indeed a question” whether Ms. Guinn was “medically and physically fit to perform

the regular work duties of a conductor job,” has merely raised a question that the

jury will be asked to resolve. (Final Johanning Report at 10). When pressed at his

deposition to elaborate, Dr. Johanning gave little more. Deposition of Eckardt

Johanning, MD at 159:9 (“It’s a question. That’s my opinion.”), 162:8–9 (“It’s not

more than what the sentence is.”). At most, Dr. Johanning states “I can only say in

hindsight I question their judgment.” Dep. Johanning at 166:11–12. The Court

agrees with Norfolk Southern. This rumination will not assist the trier of fact as it

“offers nothing more than what lawyers for the parties can argue in closing

arguments.” United States v. Frazier, 387 F.3d 1244, 1263 (11th Cir. 2004) (citing

4 Weinstein’s Federal Evidence § 702.03[2] [a].). Accordingly, Dr. Johanning’s

testimony is LIMITED such that he many not opine on Ms. Guinn’s suitability for

the conductor job prior to her injuries.




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            2.     Steven Filbert [Doc. 67]

       Norfolk Southern next seeks to exclude the opinions of Steven Filbert. Mr.

Filbert is a former Norfolk Southern employee who worked as a brakeman and

conductor for nine years, from 1999 until 2008, and was an approved trainer for

conductors at Norfolk Southern’s Elkhart facility after they finished at

McDonough. (Mot. to Exclude Filbert, Br. at 5, Doc. 67-1; Resp. to Mot to Exclude

Filbert at 5; Dep. Filbert at 87–88). Mr. Filbert has had a long career in the railroad

industry, and has served as the legislative representative and lobbyist for the Local

UTU (United Transportation Union) at the state level, as well as president, vice

local chairman, and local chairman of the Local 1620. (Resp. to Mot to Exclude

Filbert at 3, Doc. 80; Deposition of Steven Filbert at 15–17, 24–26, 31–32, Doc.

77).

       Mr. Filbert did not provide a written report, and the extent of his expert

disclosures are set forth below:

       Subject matter of expert testimony: Mr. Filbert is expected to
       testify regarding the hazards of climbing a railcar to set and release a
       high handbrake and his experience as a Norfolk Southern Railway
       Company (“NS”) conductor regarding handbrakes

       Facts: Mr. Filbert understands plaintiff was injured in training in
       Georgia when she fell from the ladder while training on setting and
       releasing a high hand brake. He was a conductor for many years at the
       Elkhart Yard for NS as well as the legislative representative for the
       UTU local. He is expected to testify to the custom and practice at NS
       regarding brake sticks. NS did not permit employees to climb on rail
       cars to set hand brakes. NS provided brake sticks and required
       employees to use brake sticks to set and release hand brakes.



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      Opinions: Since NS employees are not permitted to climb rail cars,
      there is no logical reason to require an employee in training to climb
      rail cars to the top of the rail car, cross over, to set and release a high
      hand brake. Fall from heights is a recognized hazard in the rail
      industry. In Filbert’s opinion, NS did not provide plaintiff with a
      reasonable safe place to work for these reasons.

(Pl.’s Rule 26(a)(2) Disclosures at 4, Doc. 31).

      Norfolk Southern raises the usual invocation of objections under Rules 26

and 37 regarding Ms. Guinn’s disclosures of Mr. Filbert’s opinions. However, as an

initial matter, the Court is concerned that Mr. Filbert is offering an expert opinion

without preparing a report, ostensibly meaning that he was not “retained or

specially employed to provide expert testimony in the case.” Fed. R. Civ. P.

26(a)(2)(A); (See Dep. Filbert at 13:9–11 (“Q. Okay. Are you being paid a fee for

your time in this case? A. No.”). However, Mr. Filbert has previously worked as an

investigator at Plaintiff’s counsel’s prior law firm. In any case, Norfolk Southern

does not appear to contend that Mr. Filbert should have prepared a written report,

only that his opinion should be excluded under Federal Rule of Civil Procedure 37

and Federal Rule of Evidence 702.

      Mr. Filbert certainly has experience, but Ms. Guinn has not laid the

foundation to apply his experience to the McDonough railroad operation and

employee training in 2015. Mr. Filbert admits he has not kept up with rules since

he retired from Norfolk Southern in 2008. (Dep. Filbert at 42:19–21). The fact that

his division mandated the use of brake sticks rather than placing employees in the

position of climbing on rail cars to handle braking does not provide a foundation


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for concluding, systemwide, that “there is no logical reason to require an employee

in training to climb rail cars to the top of the rail car, cross over, to set and release

a high hand brake.” In fact, when asked if the use of brake sticks was mandated on

a systemwide basis, Mr. Filbert answered he had “no idea if they did it or not.” (Id.

at 42:22–24).

       As to the remainder of his opinions criticizing Mr. Elliott’s training based on

his review of deposition testimony and statements, the Court finds it largely

cumulative of the expert testimony of Colon Fulk, who the Court today holds is

qualified to give expert testimony on the subjects in question. Accordingly, the

Motion to Exclude Mr. Filbert’s expert testimony is GRANTED.9

              3.      Terry Cordray [Doc. 68]

       Norfolk Southern next moves to limit or exclude the testimony of Terry

Cordray, Ms. Guinn’s vocational rehabilitation expert. Ms. Guinn has disclosed Mr.

Cordray for the purpose of showing “what impact medical problems subsequent to

a work-related injury of July 8, 2015 have had upon her vocational capacities.”

(Report of Terry Cordray, Mot to Exclude Cordray Ex. D at 1). Mr. Cordray’s

testimony will therefore purportedly be offered to show damages, not liability.

However, in formulating this opinion, Mr. Cordray considered her ability to



9 However, this ruling does not bar Mr. Filbert from testifying entirely. As a lay witness, he is still
permitted to give an opinion based on “particularized knowledge garnered from years of
experience within the field,” so long as the opinion is “not based on scientific, technical, or other
specialized knowledge within the scope of Rule 702.” Tampa Bay Shipbuilding & Repair Co. v.
Cedar Shipping Co., 320 F.3d 1213, 1223 (11th Cir. 2003); Fed. R. Evid. 701(c). The Parties may
choose to take up the issue of limiting the scope of Mr. Filbert’s potential lay opinions closer to
trial.
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perform the job as a conductor before the injury as a factor for what her earning

capacity was prior to the injury:

      Ms. Guinn had received a physical examination to be hired by Norfolk
      Southern, however did not receive a pre-employment Physical
      Abilities Test, as currently done at Union Pacific Railroad as a
      requirement for conductor applicants. As Ms. Guinn was seriously
      injured on only her second day of job training, it is my opinion there
      is a reason to doubt her ability to perform the job as a conductor.
      Therefore, I will not use railroad conductor wages to opine Ms.
      Guinn’s loss of earning capacity.

(Id.). At the deposition, on cross-examination by Ms. Guinn’s counsel, Mr.

Cordray elaborated that he would have recommended Ms. Guinn for additional

testing based on her physical condition:

      “I am not a doctor. I have been involved in fitness-for-duty decisions
      at the Santa Fe and the BNSF [railroad] from 1979 through 1999. It’s
      my opinion that I would have recommended [the Plaintiff] for further
      physical testing before I would have accepted her into the new hire
      conductor program.”

(Dep. of Terry Cordray at 116). Norfolk Southern objects to this opinion, which

appears to go to suitability, for two reasons. First, that it was not disclosed in Mr.

Cordray’s Rule 26(a)(2)(B) report, and second that it is beyond his qualifications.

      The Court disagrees with Norfolk Southern that the opinion was not

disclosed in Mr. Cordray’s Report. The Report clearly states that “there is a reason

to doubt her ability to perform the job as a conductor.” (Cordray Report at 1). The




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Court cannot think of a clearer way Ms. Guinn could have disclosed Mr. Cordray’s

opinion.10

       As to the question of qualification to express the opinion, Ms. Guinn

responds by proposing to limit the purpose for which the testimony is offered: “To

the extent the railroad objects to Cordray testifying to an opinion that the railroad

was negligent for assigning Plaintiff to work as a conductor, he has not expressed

that opinion in his report or at his deposition; and [it] will not be a subject matter

of his direct testimony at trial.” (Resp to Mot. to Exclude Cordray at 3). The Court

finds that this concession has largely resolved Norfolk Southern’s objection. Mr.

Cordray, as a vocational expert, is qualified to opine on her earning capability

before and after the incident, subject to proper safeguards to avoid confusing the

jury. Accordingly, Mr. Cordray’s opinion is LIMITED as set forth above. The

Court need not determine the proper limiting instruction under Federal Rule of

Evidence 105 until closer to trial.

             4.      Colon Fulk [Doc. 69]

       Ms. Guinn has retained Colon Fulk, a railroad industry expert, to express

three opinions in this case:

       (1)    Norfolk Southern’s instructors were “wrong and reckless” by

              instructing her to do the high handbrake exercise so early in her

              training;


10 Norfolk Southern has perhaps been a bit trigger-happy with Rule 37. Rule 37(c)’s sanction is
meant as a deterrent for discovery abuses, and is not a Swiss Army knife to be deployed in every
situation where an expert elaborates on his or her report to the detriment of the opponent.
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      (2)    Norfolk Southern’s instructors knew or should have known that Ms.

             Guinn’s “training and knowledge had not progressed to a level” that

             would allow her to perform the high handbrake exercise, among the

             “toughest” tasks on the railroad; and

      (3)    “The use of Brake Sticks in the rail industry has eliminated personal

             injuries of railroad employees.”

(Resp. to Mot to Exclude Fulk at 1–2, Doc. 81). Norfolk Southern contends that a

fourth opinion was offered at Mr. Fulk’s deposition, “that the third rung or ‘grab

iron’ from the top of the railcar’s side ladder was bent, which restricted the foot

room available to the Plaintiff as she climbed the side ladder and could

constitute a violation of the Safety Appliance Act.” (Reply Mot. to Exclude Fulk at

1). It appears that there is no dispute as to the inadmissibility of this last opinion,

as in her response to the Motion to Exclude , Ms. Guinn stated that Fulk “deferred

to a mechanical department expert as to whether it was a violation . . . [s]o this

part of Defendant’s motion is moot.” (Resp. to Mot. to Exclude Fulk at 2). However,

Norfolk Southern seeks to exclude the remaining opinions under Rule 702 and

Daubert.

      Norfolk Southern contends that “Mr. Fulk’s training-related opinions should

be excluded because they are not the product of Mr. Fulk’s reliable application of

expertise or methodology to the facts of this case” and that “Mr. Fulk is not




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qualified to opine on Norfolk Southern’s training.” (Mot to Exclude Fulk, Br. at 17–

18, Doc. 69-1).11

       According to his report, Mr. Fulk has had “33 years of ‘on board’ experience

in train operations,” including as a “conductor, fireman, brakeman, locomotive

engineer,” and foreman. (Report of Colon Fulk at 2, Doc. 31-4). He has “supervised

training and created start-up training programs for railroad employees.” (Id.). But

Mr. Fulk is not only qualified by knowledge and experience, he is also qualified by

training and education. He has taken over “2,475 hours in such subjects as train

handling and operations, railroad management, crew training, operating rules,

safety, mechanical and the like.” (Id.). He earned “a diploma from the Railway

Educational Bureau after completing in excess of 50 lessons pertaining to railroad

subject matters.” (Id.). Furthermore, and perhaps most relevant to this case, he is

a member of the Air Brake Association, as well as a past member of the National

Association of Railway Safety Consultants and Investigators. (Id.). Judge May

permitted him to testify as an expert in rail operations and accident investigation

in Haynes v. Lawrence Transp. Co., No. 1:13-CV-4292-LMM, 2015 WL 5601942,

at *3 (N.D. Ga. Mar. 24, 2015) (“The Court finds that Mr. Fulk has the requisite

experience and educational background which would qualify him to testify as an




11Norfolk Southern argues for the first time in its Reply brief that Mr. Fulk’s opinion should be
excluded because he did not review its FRA-approved conductor training program in connection
with offering his opinions in this case. (Reply at 2). The Court declines to take up this argument
that was not first raised in Norfolk Southern’s opening brief.
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expert. He has extensive experience in both the private sector and as an expert in

legal proceedings.”).

      Nonetheless, Norfolk Southern argues that Mr. Fulk is not qualified to opine

on its training. It argues that Mr. Fulk has not been to the McDonough training

facility in 25 years and that Mr. Fulk “does not recall ever assisting with training

conductor trainees on mounting equipment to apply and release handbrakes.”

(Mot to Exclude Fulk, Br. at 18). However, it concedes that “his past experience

with Norfolk Southern involved continuing field training of employees who have

completed initial training at the McDonough training facility,” though not since

“the early 1990’s.” (Id.). However, as the Court noted above, Mr. Fulk is qualified

not only by his experience, but also by his education and training. The Court

accordingly finds that these arguments do not go to Mr. Fulk’s qualifications, but

instead go to the weight the jury should give his testimony. While the Court expects

Norfolk Southern will develop this further on cross-examination, based on the

materials provided by Ms. Guinn, the Court finds Mr. Fulk qualified to offer the

opinions Ms. Guinn has disclosed in this case.

      Norfolk Southern next contends that Mr. Fulk did not employ reliable

methodology or analysis to arrive at his opinions, but rather based the opinion on

“nothing more than Plaintiff’s recorded statement and four of the eight trainees’

written statements.” Norfolk Southern argues that Mr. Fulk has misinterpreted the

evidence, accusing him of “cherry-picking” statements and basing his conclusions

“upon the assumption that Plaintiff’s statement, as interpreted by Mr. Fulk, is

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accurate, while Elliott’s statement is not.” (Mot. to Exclude Br. at 21, 23). However,

upon reviewing the materials cited by Norfolk Southern, the Court concludes that

this is “a difference of opinion as to the interpretation of certain evidence that can

be handled by cross examination.” Haynes, No. 1:13-CV-4292-LMM, 2015 WL

5601942, at *3.

      Lastly, Norfolk Southern takes issue with Mr. Fulk’s statement that “the high

handbrake exercise is among the most dangerous tasks on the railroad.” It

contends that Mr. Fulk does not support this statement with statistics, but rather

his “ipse dixit.” But this is this is one of the pieces of training that Mr. Fulk logically

would be familiar with given his experience, and he may base his testimony on this

experience without the need to support it with statistics. Accordingly, the motion

is DENIED.

      B.      Motion for Summary Judgment

      Having resolved Norfolk Southern’s Motions to Exclude, the Court next turns

to its Motion for Partial Summary Judgment. While Ms. Guinn’s Complaint only

presents one cause of action, the Federal Employers’ Liability Act (“FELA”), 45

U.S.C. § 51 et seq., Norfolk Southern seeks summary judgment on several theories

of liability under that Act.

             1.     FRSA Preclusion of Negligent Training Claim

      Norfolk Southern first seeks summary judgment as to Ms. Guinn’s negligent

training claim on the grounds that it complied with regulations issued under the

Federal Railroad Safety Act (“FRSA”), 49 USC § 20101 et seq. Because FRSA’s

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preemption section states that “[l]aws, regulations, and orders related to railroad

safety and laws, regulations, and orders related to railroad security shall be

nationally uniform to the extent practicable,” Norfolk Southern contends that its

compliance with its training program approved pursuant to FRA regulation

precludes a FELA claim premised on an ordinary, “reasonable care” standard. 49

U.S.C. § 20106(a).

      Norfolk Southern points out that every federal court of appeals to consider

the issue has held that FELA claims are precluded by FRSA. Nickels v. Grand

Trunk W. R.R., Inc., 560 F.3d 426, 430 (6th Cir. 2009); Lane v. R.A. Sims Jr., Inc.,

241 F.3d 439, 443 (5th Cir. 2001); Waymire v. Norfolk & W. Ry. Co., 218 F.3d 773,

777 (7th Cir. 2000). In response, Ms. Guinn cites several recent cases which have

held that the FRSA does not preclude FELA claims in light of the Supreme Court’s

decision in POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102, 112 (2014). Most

recently, Norfolk Southern lost on this issue before the Georgia Supreme Court in

Norfolk S. Ry. Co. v. Hartry, No. S19G0008, --- S.E.2d. ----, 2019 WL 7046785, at

*5 (Ga. Dec. 23, 2019).

      In Hartry, the Georgia Supreme Court noted as an initial matter that

because the case concerned “two federal acts, the preemption doctrine and the

express preemption provision in FRSA are inapplicable.” 2019 WL 7046785, at *2

(citing Norfolk Southern R. Co. v. Zeagler, 748 S.E.2d 846, 859 (Ga. 2013);

Henderson v. Nat’l R.R. Passenger Corp., 87 F. Supp. 3d 610, 614 (S.D.N.Y. 2015).

Instead, “If FRSA regulations were to bar a FELA negligence claim, it could only

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be under the doctrine of preclusion, which deals with the compatibility of multiple

federal laws.” Id. at *3 (citing Zeagler, 748 S.E.2d 846, 859).

        The Hartry court was not convinced that Congress’s objective of national

uniformity set forth in FRSA mandated a finding of preclusion, quoting Pom

Wonderful for the proposition that “Congress not infrequently permits a certain

amount of variability by authorizing a federal cause of action even in areas of law

where national uniformity is important.” Id. (citing POM Wonderful, 573 U.S. at

117).

        In POM Wonderful, the U.S. Supreme Court declined to find one federal

statute precluded a claim under another statute absent “statutory text or

established interpretive principle to support preclusion, including a “congressional

purpose or design to forbid such suits.” Id. (citing POM Wonderful, 573 U.S. at

117). The Georgia Supreme Court noted that after POM Wonderful, the trend has

been against a finding of preclusion, writing that “most courts not bound by FELA

precedent that precedes POM Wonderful have held that FRSA does not preclude a

FELA claim.” Id. at *4. The court agreed with the trend, concluding that

“[p]ermitting safety-related suits under FELA will enhance, rather than impede,

the purpose of FRSA in promoting railroad safety and reducing accidents,” and

explaining that its holding posed little risk to nationwide uniformity in light of the

fact that “FELA claims are based on [a] federal statute and federal common law

regardless of where such claims are tried.” Id. at *5.



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       The Court agrees with the well-reasoned opinion of the Georgia Supreme

Court in Hartry and holds that FELA claims based on an ordinary “reasonableness

standard” are not precluded by the FRSA. As such, several factual disputes prevent

a finding of summary judgment at this time, including whether Ms. Guinn was

improperly instructed to climb to the second to highest rung before transferring to

the end ladder,12 whether Ms. Guinn’s condition was such that the trainer should

have stopped the exercise, or alternatively, whether Ms. Guinn should have been

instructed to attempt the exercise at all.13

              2.     Negligent Assignment

       Norfolk Southern next moves for summary judgment on Ms. Guinn’s claim

that it negligently assigned her to perform tasks beyond her physical abilities.

“FELA employers also may be liable if they negligently assign employees tasks that

are beyond their physical capacities.” Sea-Land Serv., Inc. v. Sellan, 231 F.3d 848,

12Norfolk Southern argues in its Reply that the factual dispute about whether Ms. Guinn was
instructed to climb to a height above the brake platform before transferring to the end ladder is
not material because Ms. Guinn eventually ended up where she needed to be, the brake platform,
and only fell thereafter. (Reply to Mot. Summ. J. at 11–12, Doc. 90). However, it is for a jury to
decide whether, if indeed directed by Norfolk Southern’s trainer, this extra climbing contributed
to the circumstances leading to Ms. Guinn’s fall.
13All of this is not to say that Norfolk Southern’s compliance with FRA regulations will not be
relevant at trial, including the requirements under 49 C.F.R. § 242.119(e) that a conductor trainee
shall “[s]uccessfully complete” Norfolk Southern’s “formal initial training program . . . and any
associated examinations covering the skills and knowledge the person will need to possess in
order to perform the task necessary to be a conductor,” and “[d]emonstrate, to the satisfaction of
the railroad with input from a qualified instructor, on the job proficiency by successfully
completing the tasks necessary to be a conductor.” Indeed, compliance with these regulations
may provide probative evidence that Norfolk Southern met the relevant standard of care,
particularly in light of the fact that Ms. Guinn’s proffered experts could not guarantee she would
never find herself in a situation where knowing how to release a handbrake by climbing a rail car
would be necessary. (See Dep. Fulk at 47:20–21 (“There may be times when they’ll have to apply
or release a handbrake like that.”). It is accordingly in the Parties’ interests to seriously work
towards a settlement of this matter.
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851 (11th Cir. 2000) (citing Fletcher v. Union Pac. R. Co., 621 F.2d 902, 908–09

(8th Cir. 1980)). Norfolk Southern contends that, following the Court’s ruling on

its motions to exclude expert testimony, no evidence remains to support a claim

for negligent assignment. The Court agrees.

      Dr. Johanning’s equivocal opinion that “[i]t is indeed a question” whether

Ms. Guinn was “medically and physically fit to perform the regular work duties of

a conductor job,” was excluded by the Court as unhelpful to the jury. See supra.

And Ms. Guinn voluntarily limited the scope of Mr. Cordray’s testimony: “[t]o the

extent the railroad objects to Cordray testifying to an opinion that the railroad was

negligent for assigning Plaintiff to work as a conductor, he has not expressed that

opinion in his report or at his deposition; and will not be a subject matter of his

direct testimony at trial.” (Resp to Mot. to Exclude Cordray at 3). The fact that

Norfolk Southern was aware of Ms. Guinn’s age, gender, and weight as result of

her medical evaluation does not create a jury question as to her suitability in the

abstract. Accordingly, the motion for summary judgment as to this theory of

liability is GRANTED.

            3.    Safety Appliance Act

      Lastly, Ms. Guinn contends that Norfolk Southern is liable for causing Ms.

Guinn’s injury because “the side ladder and the fourth rung down from the top had

more of a curve or bend that [sic] the same ladder on a different car,” which,

according to Ms. Guinn’s expert Colon Fulk, may have constituted a violation of

the Safety Appliance Act (“SAA”). (Pl.’s SAMF ¶ 39, citing Dep. Elliott at 64–65,

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133, 134, 140; Reply Mot. to Exclude Fulk at 1). However, as the Court noted above

in the section on Mr. Fulk’s report, Ms. Guinn withdrew this aspect of Mr. Fulk’s

opinion stating that Fulk “deferred to a mechanical department expert as to

whether it was a violation . . . [s]o this part of Defendant’s motion [to exclude his

opinion] is moot.” (Resp. to Mot. to Exclude Fulk at 2). The only remaining

evidence in the record as to the grab irons is the opinion of Norfolk Southern’s

witness, Richard French. Mr. French measured the rungs in question and

concluded that “[t]he top four rungs or ‘grab irons’ on the brake end ladders of the

railcar on which Norfolk Southern trained the Plaintiff to perform the high

handbrake exercise had a minimum clearance (i.e. hand or foot room) of 2 inches

or more from the body of the railcar,” and accordingly concluded they were in

compliance with the SAA. (Def.’s SUMF ¶ 30, citing Declaration of Richard

French, Mot. Summ J. Ex. F at ¶¶ 3, 6, Ex. 2). Plaintiff objected to the “foundation

for the measurements taken by French because there is no date when he took the

measurements,” noting that if the measurements were taken around the time of

his affidavit in 2019 “there is no foundation that the rungs were in the same

condition in 2019 as at the time of the injury in suit in 2016.” (Pl.’s RSUMF ¶ 30).

However, the Court need not consider the French declaration at all. 14 In light of

Fulk’s withdrawal of his opinion as to the potential SAA violation at his deposition,

there is no evidence supporting the claim that the ladder was not in compliance


14None of this is to say (one way or another) that Norfolk Southern can use their purported
compliance with the SAA as determined by Mr. French in an affirmative way to defeat the
surviving negligence claims.
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with the Safety Appliance Act at the time of the accident15 or that any purported

noncompliance was the cause of Ms. Guinn’s injuries. Accordingly, summary

judgment on this theory of liability is appropriate.

IV.    CONCLUSION

       For the above reasons, the Motion to Limit or Exclude the Testimony of

Eckardt Johanning, M.D., Msc, Ph.D. [Doc. 66] is GRANTED IN PART and

DENIED IN PART; the Motion to Limit or Exclude the Testimony of Steven

Filbert [Doc. 67] is GRANTED; the Motion to Limit or Exclude the Testimony of

Terry Cordray [Doc. 68] is GRANTED IN PART and DENIED IN PART; and

the Motion to Limit or Exclude the Testimony of Colon Fulk [Doc. 69] is DENIED.

The Motion for Summary Judgment is GRANTED IN PART as to the Negligent

Assignment and Safety Appliance Act theory of liability and DENIED IN PART

as to the Negligent Training theory of liability.

       The Court ORDERS the parties to attend mediation to be completed within

40 days of the entry of this Order. The parties may mutually agree upon a private

mediator, or if unable to reach an agreement, the Court will appoint a private

mediator. The parties should notify the Court within seven (7) days of the date of


15In Plaintiffs Statement of Additional Material Facts, Plaintiff cites the Elliott Deposition for the
proposition that “[t]he side ladder and the fourth rung down from the top had more of a curve or
bend tha[n] the same ladder on a different car.” (Pl.’s SAMF ¶ 39, citing Dep. Elliott at 64-65
(testimony), 133, 134, and 140 (photographs). However, in context, Mr. Elliott is shown three
pictures and asked if the fourth rung down in one picture “appear[s] to have more of a curve or
more of a bend to it.” (Dep. Elliott at 64:21–65:3). Based on the photographs alone, Mr. Elliott
answers that it does, but insists that he would not have used a different train car for the exercise.
(Id. at 65:4–12). That the rung appears bent from a picture does not create a genuine fact dispute
where Plaintiff has not endeavored to examine the ladder in question and where there is no
evidence in the record that the rung caused the fall.
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entry of this Order if they are unable to agree upon a mediator. The parties are

DIRECTED to file a status report within 5 days of the conclusion of the mediation

indicating whether this matter is resolved.

      If this case is not settled in mediation, the parties are DIRECTED to submit

a consolidated pretrial order within 20 days of the filing of their status report. The

Clerk is DIRECTED to submit this matter to the undersigned if there is no activity

in this case within 70 days of the date of entry of this Order

      IT IS SO ORDERED this 26th day of February, 2020.


                                       ___________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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